
113 F.2d 114 (1940)
Henry C. and Lillie M. Wright SMITH, Petitioners,
v.
COMMISSIONER OF INTERNAL REVENUE, Respondent.
No. 356.
Circuit Court of Appeals, Second Circuit.
July 8, 1940.
Henry C. Smith, of New York City, for petitioners.
Samuel O. Clark, Jr., Asst. Atty. Gen., and Sewall Key and William L. Cary, Sp. Assts. to Atty. Gen., for respondent.
Before SWAN, AUGUSTUS N. HAND, and PATTERSON, Circuit Judges.
PER CURIAM.
Decision affirmed.
